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                                 UNITED STATES DISTRICT COURT                                                            d0V 11 2C1i
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     BURRELL A .M CG HEE

                   Plaintiff,                                        Case No.7.
                                                                              '13-CV-l23



     CH ARLES A.ROBERSO N,M .D .,etal.

                   Defendantts).

                                     AOREED D ISM ISSA L ORDER

            This m atter cam e before thc Courton the m otion ofthe parties,by counsel,fbran Order

     dismissingthislitigationwithprejudice.
            IT APPEARING TO THE COURT thatthe partiesjointly requestthe reliefthatthey
     seek,itishereby:

            A DJUD GED,OR DERED and DECREED thatthe Courtdism isses the Plaintiffs claim s

     againstJamesM oitoza,M .D.,and Loeumrfencns.com,LLc with prejudice;and thismatter
     shallbe stricken from the Court'sactive docketas to those tw o parties.

            Attested copies of this order,following entry,w illbe available via the CM /ECF system

     which w illsend notification ofsuch filing to a1lcounselofrecord.



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                                          Honorable M ichaelF.Urbanski
                                          United StatesD istrictJudge




Case 7:13-cv-00123-MFU-RSB Document 130 Filed 11/14/14 Page 1 of 4 Pageid#: 1688
     W e ask forthis:



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Case 7:13-cv-00123-MFU-RSB Document 130 Filed 11/14/14 Page 2 of 4 Pageid#: 1689
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